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13
14                              UNITED STATES DISTRICT COURT

15                           NORTHERN DISTRICT OF CALIFORNIA

16   AMANDA FRLEKIN, AARON GREGOROFF,                 Case No. 13cv03451-WHA
     SETH DOWLING, DEBRA SPEICHER; AND
17   TAYLOR KALIN, on behalf of themselves and        STIPULATED REQUEST FOR ORDER
     all others similarly situated,                   SHORTENING TIME FOR NOTICE
18                                                    AND HEARING ON MOTION FOR
                            Plaintiffs,               PRELIMINARY APPROVAL OF
19                                                    STIPULATION REGARDING CLASS
           v.                                         AND PRIVATE ATTORNEYS
20                                                    GENERAL ACT SETTLEMENT AND
     APPLE INC.,                                      RELEASE FOR CLASS OF 105
21                          Defendant.                ADDITIONAL EMPLOYEES (L.R. 6-2);
                                                      PROPOSED ORDER
22
                                                      Place:     Ctrm. 12, 19th Floor
23                                                    Judge:     Hon. William Alsup

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 1           Pursuant to Local Rules 6-2 and 7-12, Plaintiffs Seth Dowling, Aaron Gregoroff, Taylor
 2   Kalin, and Debra Speicher on the one hand, and Defendant Apple Inc. on the other hand, by and
 3   through their counsel of record (together the “Parties”), hereby jointly make this Stipulated Request

 4   for an order shortening time for notice and hearing on Plaintiffs’ Motion for Preliminary Approval
 5   of the Stipulation Regarding Class and PAGA Settlement and Release for Class of 105 Additional
 6   Employees) (the “Separate Motion for Preliminary Approval”), to address 105 additional employees
 7   who were inadvertently (according to Apple and its counsel) omitted from Apple’s Employee List
 8   and thus were not provided with notice of the original Stipulation Regarding Class and Private
 9   Attorneys General Act Settlement and Release (the “November 2021 Settlement Agreement”) in
10   this case. The Separate Motion for Preliminary Approval is filed concurrently with this Stipulated
11   Request, with a stated hearing date of August 11, 2022, consistent with the Local Rules and this
12   Court’s requirements for noticed motions and hearing dates.1
13           In order to prevent delay and prejudice to the over 14,000 employees who were provided
14   with notice under the November 2021 Settlement Agreement, as well as the 105 Additional
15   Employees who were not, the Parties jointly propose, stipulate and request that the Court shorten
16   the time for notice and advance and hear Plaintiff’s Separate Motion for Preliminary Approval at
17   the same time as the previously-scheduled hearing on Plaintiff’s Motion for Final Approval of Class
18   Action Settlement and Approval of Plan of Allocation (Dkt. 446) (“Motion for Final Approval of
19   the November 2021 Settlement Agreement”), set for July 7, 2022. Good cause exists for shortening
20   time for notice and hearing of the Separate Motion for Preliminary Approval so the Court may
21   consider it together with the Motion for Final Approval of the November 2021 Settlement
22   Agreement, as hearing these motions together will minimize further delays in payment to the 105
23   Additional Employees, and efficiency is served as there is no material difference between the terms
24
     1
25     See, Notice of Motion and Motion for Preliminary Approval of Stipulation Regarding Class and Private
     Attorneys General Act Settlement And Release For Class of 105 Additional Employees (“Separate Motion
26   for Preliminary Approval”), Dkt. ____. Contemporaneously with the submission of the Separate Motion
     for Preliminary Approval, Plaintiffs filed the Joint Declaration of Lee S. Shalov and Kimberly A. Kralowec
27   in Support of Motion for Preliminary Approval of Stipulation Regarding Class and Private Attorneys
     General Act Settlement, and Release for Class of 105 Additional Employees (the “Joint Decl.”); Dkt. ___
28   Attached as Exhibit 1 to the Joint Decl. is the Stipulation.
                                                    1
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 1   of the November 2021 Settlement Agreement and the Separate Settlement Agreement and the
 2   Separate Settlement Agreement affords the 105 Additional Employees the same net payment per
 3   shift in settlement of this action as every Participating Class Member will receive from the

 4   November 2021 Settlement Agreement (with the addition of interest to compensate for the delay in
 5   payment after notice and approval of the Stipulation). Declaration of Kathleen Styles Rogers in
 6   Support of Stipulated Request for Order Shortening Time for Notice and Hearing of Motion for
 7   Preliminary Approval of Stipulation Regarding Class and Private Attorneys General Act Settlement
 8   and Release for Class of 105 Additional Employees (filed herewith) ¶3.
 9           WHEREAS, on or about November 11, 2021, Plaintiffs and Apple entered into the
10   November 2021 Settlement Agreement (Dkt. 416-2);
11           WHEREAS, on December 28, 2021, the Court granted Plaintiffs’ motion for preliminary
12   approval of the November 2021 Settlement Agreement (Dkt. 431);
13           WHEREAS, in connection with the notice process that went forward after the Court granted
14   preliminary approval of the November 2021 Settlement Agreement, Apple concluded that there
15   were 105 additional individuals who transferred into a California location between August 3, 2015
16   and December 26, 2015: (i) had worked as a non-exempt employee at an Apple retail store in
17   California during this time period; (ii) had not been identified as a Settlement Class Member; and
18   (iii) consequently were not sent Notice of the November 2021 Settlement Agreement (Erwin Decl.,
19   ¶10);
20           WHEREAS, Apple concluded that these 105 individuals collectively worked 10,781 shifts
21   at a California retail location during the Class Period (more specifically, between August 3, 2015
22   and December 31, 2015) (Id);
23           WHEREAS, the Parties wish to provide relief for the 105 additional individuals without
24   delaying relief to the Settlement Class Members covered by the November 2021 Settlement
25   Agreement and without compromising the interests of those Settlement Class Members in any
26   respect;

27           WHEREAS, the Parties have agreed to a proposed resolution of the Class Claims and PAGA
28   Claims of these 105 individuals pursuant to the terms of the Separate Settlement Agreement attached
                                                 2
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 1   to the Joint Decl. as Exhibit 1; and.
 2          WHEREAS, Defendant Apple stipulates that it supports and will file no opposition to the
 3   Separate Motion for Preliminary Approval;

 4          NOW, THEREFORE, the Parties stipulate and jointly request that the Court shorten time for
 5   notice and advance the hearing for Plaintiffs’ Separate Motion for Preliminary Approval (Dkt. 448),
 6   and that the Court permit said Separate Motion for Preliminary Approval to be heard concurrently
 7   with Plaintiffs’ Motion for Final Approval of the November 2021 Settlement Agreement (Dkt. 446),
 8   set for hearing on July 7, 2022 at 8:00 a.m. in this Court.
 9
     Dated: June 29, 2022                              DLA PIPER LLP (US)
10
11                                                     By:     /s/ Matthew Riley
12                                                           JULIE DUNNE
                                                             MATTHEW RILEY
13
                                                             Attorneys for Defendant Apple Inc.
14
15
     Dated: June 29, 2022                              McLAUGHLIN & STERN, LLP
16
17
                                                       By:     /s/ Lee Shalov
18                                                           LEE SHALOV

19                                                     Attorneys for Plaintiffs and the Class

20
21
22                                                 ATTESTATION

23          In accordance with Local Rule 5-1(i)(3), I attest that the other Signatories named above have

24   concurred in the filing of this document.
25   Dated: June 29, 2022                    McLAUGHLIN & STERN, LLP
26

27                                           By:    /s/ Jason S. Giaimo

28                                           Attorneys for Plaintiffs and the Class
                                                   3
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 1                                         [PROPOSED] ORDER

 2          Pursuant to the parties’ stipulated request, and good cause existing, the Court hereby shortens
 3   time for notice and advances the hearing of Plaintiffs’ Notice of Motion and Motion for Preliminary
 4   Approval of Stipulation Regarding Class and Private Attorneys General Act Settlement and Release
 5   for Class of 105 Additional Employees (Dkt. 448), and orders that said Motion will be heard
 6   concurrently with Plaintiffs’ Motion for Final Approval of Class Action Settlement and Approval
 7   of Plan of Allocation (Dkt. 446), set for hearing on July 7, 2022, at 8:00 a.m. in this Court.
 8          PURSUANT TO STIPULATION, IT IS SO ORDERED.
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10
     Dated: July
            ______5, 2022
11                                                    William Alsup
                                                      United States District Judge
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